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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

AVAYA INC.,
                                                        Case No. 2:19-mc-50986-MOB-EAS
                         Plaintiff,
                                                        Hon. Marianne O. Battani
       v.
                                                        Underlying Case:
RAYMOND BRADLEY PEARCE, et al.,
                                                        Case No. 3:19-cv-00565- SI
                                                        Northern District of California
                         Defendants,

and

METROLINE, INC., nonparty recipient of
subpoena issued by Plaintiff Avaya Inc.

      PLAINTIFF AVAYA INC.’S MOTION FOR LEAVE TO FILE SUR-REPLY TO
         NONPARTY METROLINE, INC.’S MOTION TO QUASH SUBPOENA

       Plaintiff Avaya Inc. (“Avaya”) respectfully requests leave to file a very brief sur-reply

and supporting declaration attached hereto as Exhibit A in response to the Reply memorandum

filed by Nonparty Metroline, Inc. (“Metroline”). New evidence has come to light that raises

serious questions about the assertions made in Metroline’s Reply, and at the very least, has

disproven Metroline’s primary argument in Reply that Avaya has not shown that “nonparty

Metroline dealt directly with any named defendant or was otherwise involved in the ‘scheme’

alleged in the Underlying Action.” Metroline Reply, ECF No. 5, at p. 4 (emphasis in original).

       As set forth in more detail in Avaya’s sur-reply brief below, Avaya has recently learned

that Metroline played a significant role in the distribution of stolen Avaya software licenses. The

full scope of that role is in records within Metroline’s possession, custody, and control.

Regardless, this new evidence conclusively establishes that either Metroline was directly

involved in distributing these stolen licenses, or that Metroline was part of the distribution chain


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through which another third party distributed the stolen software licenses. Either way, this new

evidence shows that Metroline’s arguments in Reply are misleading at best.

        Legal Standard. While Sur-replies are generally disfavored, where a party’s “surreply

raises factual allegations of substantial import,” the consideration of which would be in the

“interest of justice,” the Court may exercise its discretion in permitting supplemental briefing.

Tnaib v. Document Techs., LLC, 450 F. Supp. 2d 87, 89 n.3 (D.D.C. 2006). Here, that standard

is met and more. Indeed, because the underlying facts and evidence are mostly within the

possession, custody, and control of Metroline, and Metroline alone knew of these newly

discovered facts, the principles of equity strongly favor allowing this new evidence on sur-reply

here.

        Conclusion. For the foregoing reasons, Avaya respectfully requests that the Court grant

its motion for leave to file the sur-reply and Declaration of Lisa J. McCann in support, attached

as Exhibit A below, and to deem such sur-reply and declaration to be filed as of the date of the

order granting this Motion.

DATED: August 15, 2019                    Respectfully submitted,

                                          SIDEMAN & BANCROFT LLP

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                                                Avaya Inc.




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

AVAYA INC.,
                                                       Case No. 2:19-mc-50986-MOB-EAS
                        Plaintiff,
                                                       Hon. Marianne O. Battani
       v.
                                                       Underlying Case:
RAYMOND BRADLEY PEARCE, et al.,
                                                       Case No. 3:19-cv-00565- SI
                                                       Northern District of California
                        Defendants,

and

METROLINE, INC., nonparty recipient of
subpoena issued by Plaintiff Avaya Inc.

                    PLAINTIFF AVAYA INC.’S SUR-REPLY TO
            NONPARTY METROLINE, INC.’S MOTION TO QUASH SUBPOENA

       Nonparty Metroline, Inc. (“Metroline”) hinges its Reply on the argument that Plaintiff

Avaya Inc. (“Avaya”) has not shown that “nonparty Metroline dealt directly with any named

defendant or was otherwise involved in the ‘scheme’ alleged in the Underlying Action.”

Metroline Reply, ECF No. 5, at p. 4 (emphasis in original). That argument is not correct on the

law and is contradicted by Avaya’s Opposition. What’s more, new evidence has come to light

that conclusively confirms Metroline’s connection to the stolen software licenses that form the

basis of the Underlying Complaint. That Metroline would file its Motion and Reply and hide

this evidence from the Court and Avaya is troubling.

       The New Evidence. The new evidence very recently obtained by Avaya originated from

an Avaya partner and shows that the Avaya partner sold thousands of blank Avaya-compatible

memory cards to Metroline. See Declaration of Lisa J. McCann in Support of Sur-Reply, infra,


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at ¶3 & Ex. 1 (exemplar invoice to Metroline detailing purchase of numerous SD cards). The

specific type of Avaya memory card sold to Metroline is generally used to distribute Avaya

software licenses to end users. See id. There does not appear to be any reason for Metroline to

purchase thousands of blank Avaya memory cards other than to unlawfully distribute Avaya

software to its customers or to assist someone else in doing the same. Moreover, in analyzing

data related to the memory cards purchased by Metroline, Avaya has determined that at least 73

SD cards purchased by Metroline now contain Avaya software licenses directly tied to the theft

by the lead Defendant in the Underlying Action, Defendant Pearce (“Defendant Pearce”). See

id., ¶ 4. Further, just with regard to the exemplar Metroline invoice attached as Exhibit 1, Avaya

has been able to determine that at least 23 of those SD Cards purchased by Metroline now

contain Avaya software licenses directly tied to the theft by Defendant Pearce. Id.

       Impact of the New Evidence. Perhaps Metroline can somehow explain an innocent

reason for the purchase of thousands of blank Avaya memory cards and perhaps Metroline can

somehow explain how stolen software licenses were added to the SD cards that they purchased.

Even if it may be potentially possible for Metroline to somehow explain this, it would still mean

that Metroline has highly relevant evidence about the chain of events from the time that

Metroline purchased blank memory cards to the time that the stolen software licenses were

distributed on those same SD cards. This evidence is critical to Avaya’s claims about the

distribution of infringing and stolen Avaya software licenses alleged in the Underlying Action.

       In short, there are two possible conclusions from this newly uncovered evidence against

Metroline, both of which require denial of the Motion to Quash. The first is that Metroline is

deeply involved in the conspiracy to distribute/resell stolen Avaya software licenses alleged in

the Underlying Action. The second is that Metroline was an intermediary reseller of blank



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Avaya memory cards and that another third party in the chain after them was responsible for

distributing the stolen software licenses using the memory cards that Metroline purchased. Of

course, under this second scenario, Metroline would still have records of the sale of the blank SD

card and their scienter in doing so would still be in question. But, regardless, it cannot now be

disputed that Metroline has possession, custody, and/or control of some of the most significant

and directly relevant records related to Avaya’s Underlying Action.

       Further, this new evidence also is highly suggestive of bad faith on Metroline’s part in

filing the Motion to Quash in the first place. Metroline had to have known these facts in advance

and filed its Motion and Reply apparently hoping that the true facts would never come to light.

It was just by chance that Avaya learned about this new evidence before the hearing on this

Motion.

       Conclusion. Accordingly, Avaya respectfully requests that the Court grant its request to

file this sur-reply, including the Declaration of Lisa McCann below filed concurrently herewith,

and that the Court deny Metroline’s Motion to Quash, order Metroline to produce all responsive

documents/data forthwith, and order such further and additional relief as the Court deems just

under these concerning circumstances.

DATED: August 15, 2019                    Respectfully submitted,

                                          SIDEMAN & BANCROFT LLP

                                          By: /s/ Lyndsey C. Heaton
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                                                Avaya Inc.



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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

AVAYA INC.,
                                                          Case No. 2:19-mc-50986-MOB-EAS
                            Plaintiff,
                                                          Hon. Marianne O. Battani
        v.
                                                          Underlying Case:
RAYMOND BRADLEY PEARCE, et al.,
                                                          Case No. 3:19-cv-00565- SI
                                                          Northern District of California
                            Defendants,

and

METROLINE, INC., nonparty recipient of
subpoena issued by Plaintiff Avaya Inc.

             DECLARATION OF LISA J. MCCANN IN SUPPORT OF SUR-REPLY

        I, LISA MCCANN, declare as follows:

        1.         I am a Senior Manager at Avaya Inc. (“Avaya”). The following is of my own

personal knowledge, and if called as a witness in this matter, I could and would competently

testify thereto.

        2.         My responsibilities as Avaya include brand protection and investigation of the

unauthorized sales of Avaya products. As part of my role at Avaya, I am familiar with the facts

underlying Avaya’s allegations relating to the creation, sale, and distribution of the stolen

licenses described in the complaint in this matter.

        3.         Avaya recently discovered that an authorized Avaya partner had been selling

thousands of blank Avaya-compatible memory cards (called “SD cards”) to Non-Party

Metroline, Inc. (“Metroline”). An exemplar invoice between the partner and Metroline, partially

redacted in abundance of caution, is attached hereto as Exhibit 1. This exemplar invoice reflects



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 the purchase of numerous blank SD cards by Metroline. These Avaya SD cards are generally

 used for the authorized distribution of Avaya software licenses.

        4.      The records provided by this Avaya partner showed not only the thousands of

 blank SD Cards purchased by Metroline, but based on the limited data available, we were able to

 also determine that at least 73 SD cards purchased by Metroline now contain Avaya software

 licenses that have been directly tied to the theft by the lead Defendant in the Underlying Action,

 Defendant Raymond Bradley “Brad” Pearce. Further, just with regard to the SD cards listed in

 the exemplar Metroline invoice attached as Exhibit 1, we were able to determine that at least 23

 of those SD Cards purchased by Metroline now contain Avaya software licenses that have been

 directly tied to the theft by the lead Defendant in the Underlying Action, Defendant Raymond

 Bradley “Brad” Pearce.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

        Executed August 15, 2019, at ___________________________________.
                                       Anaconda, MT




                                                      LIsa mcCann
                                                 Lisa McCann




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                             EXHIBIT 1
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                                      CERTIFICATE OF SERVICE
            I hereby certify that on August 16, 2019, I electronically filed the foregoing paper with the

     Clerk of the Court using the ECF system which will send notification of such filing of the
     following to all parties of record, and I hereby certify that I have mailed by United States Postal

     Service the paper to the following non-ECF participants: none.


     DATED: August 16, 2019                     Respectfully submitted,
                                                SIDEMAN & BANCROFT LLP


                                                By: /s/ Lyndsey C. Heaton
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